                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              MILWAUKEE DIVISION

MOHAMED SALAH MOHAMED                  )
AHMED EMAD,                            )
                                       )
              Plaintiff,               )
                                       )
              v.                       )                    Case No. 19-cv-598
                                       )
RICARDO WONG, Field Office Director,   )                    The Hon. Lynn Adelman
Chicago, U.S. Immigration and Customs  )                    Magistrate Judge Joseph
Enforcement (“ICE”), PAUL D'AGOSTINO , )
MICHAEL McPHERSON, DODGE COUNTY, )
DODGE COUNTY SHERIFF DALE              )
SCHMIDT, JAIL ADMINISTRATOR            )
ANTHONY BRUGGER, WELLPATH, and         )
HEALTH ADMINISTRATOR TAMMY             )
WOLLIN,                                )
                                       )
              Defendants.              )

              CIVIL L.R. 7.1 DISCLOSURE STATEMENT BY PLAINTIFF
       The undersigned, counsel of record for Plaintiff Mohamed Salah Mohamed Ahmed

Emad, furnishes the following list in compliance with Civil L.R. 7.1 and Fed. R. Civ. P. 7.1:

       1. The full name of every party or amicus the attorney represents in the action.

           Response: Plaintiff Mohamed Salah Mohamed Ahmed Emad.

       2. If such party or amicus is a corporation.

           Response: There is no such corporation.

       3. State the names of all law firms whose attorneys will appear, or are expected to

           appear, for the party in this Court.

           Response: Roderick and Solange MacArthur Justice Center and Christopher & De

           Leon Law Office are the only law firms expected to appear on behalf of the Plaintiff.




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           Vanessa del Valle and Sheila Bedi are attorneys with Roderick and Solange

           MacArthur Justice Center, expected to appear on behalf of Plaintiff. Marc E.

           Christopher is an attorney with Christopher & de Leon Law Office, expected to

           appear on behalf of Plaintiff.

Dated: April 25, 2019

                                      Respectfully submitted,

                                      MOHAMED SALAH MOHAMED AHMED EMAD

                                      By: /s/ Vanessa del Valle
                                      One of his attorneys

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                              CERTIFICATE OF SERVICE
        The undersigned, an attorney, certifies that she served the foregoing document upon all

persons who have filed appearances in this case via the Court’s CM/ECF system on April 25,

2019.

                                                    /s/ Vanessa del Valle



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